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                         EXHIBIT B




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                                                                                 David Motovich
                                                                   Metropolitan Detention Center
                                                                              Brooklyn, New York

Hon. Judge Ann M. Donnely
US District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

September 4, 2024

Re: Markel Washington

Dear Judge Donnely:

       My name is David Motorich. I am awaiting sentencing at the Downtown Facility where I
met Markel Washington five weeks ago. It may seem strange that a letter of recommendation is
being written by a fellow detainee, but I feel that I should bring to the Court’s attention,
Markel’s acts of decency and kindness to fellow detainee.

        When I was sent to the facility, I must admit that I was very nervous. Here I was a -
year old family man with four children finding myself behind bars with so much uncertainty
about what lies ahead for me. Being locked in a cell, regimented all day and night. I could never
have ever imagined finding myself in such a situation. I felt totally lost and I was afraid of not
finding any normalcy and humanness in the facility.

       However, one person, a young man, himself awaiting sentencing, Markel Washington,
sensing my disorientation opted to be my cellmate or ‘bunky’ as it is called, offering to take the
top bunk as I am not as young and agile as he is. He showed me kindness and how to cope with
every aspect of the incarceration.

         I happen to be an observant Orthodox Jew, praying three times a day, requiring kosher
food and strictly observing the Sabbath. All these customs and observances could be somewhat
strange and bothersome to a cellmate. It has not bothered Markel at all. On the contrary. He
has gone out of his way, often daily, to help me fulfill these religious needs. I have found him to
be a sensitive and decent human being. I did not expect to find someone being held in the
facility who genuinely thinks of others and looks out for their needs.

       His meaningful outreach to me is something that I will remember always. He reminds
me of the words of Etienne de Grellet: “I shall pass this way but once; any good that I can do or
any kindness I can show to any human being; let me do it now.”
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        Your Honor, please allow me to request that just as Markel shows me daily kindness
that the Court shows him kindness in his sentencing.

       Respectfully,

       David Motovich
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Lynell Square

Bronx NY10457

The Honorable Judge Ann M. Donnelly
U.S. District Court Judge
Eastern District of New York
Brooklyn, New York 11021

September 1, 2024

Re:    Markel Washington

Dear Honorable Judge Donnelly:

My name is Lynell Square and I am writing in reference of Markel Washington. Markel is my
boyfriend whom I’ve known for some years I understand he will be appearing before you in
court and I would like to express my support for him.

Markel and I known each other for 3 years and been dating for 2 years. Within the time I’ve
got to know him. He’s been nothing but loving blessing to my life. Before he came along, I
was in a bad space. He brought life to me and my kids. He came in with loving arms and
good intentions. He loves my kids just as if they were his own. He helps them with
homework, takes them school, picks them up from school, and takes them out. He’s has
definitely been a big help for me. He helped pay bills, put groceries in the house and
cleaned up so I wouldn’t have much to do after work and much more. I appreciate him for
that.

Markel apologizes for his actions and for leaving his family. He has a plan for when he
comes home. That is to work and stay out of trouble. I’m going to be by his side with his
mom to help him along.

I know it might be a difficult time for you to make a decision when you don’t actually know
the person standing in front of you. I hope you my letter into consideration at the time of
sentencing. Despite the current case, I still consider Markel as a loving honorable
individual and a good human being.

Respectfully,

Lynell Square
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